Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 1 of 83

William W. Mercer OCT 15 2019
Brianne McClafferty Clerk, U.S. Court
HOLLAND & HART LLP District Of Montana

Billings Division

401 North 31st Street, Suite 1500
Billings, MT 59101

Phone: (406) 252-2166
wwmercer@hollandhart.com
bemceclafferty@hollandhart.com

Deidre G. Duncan (D.C. Bar No. 461548) (pro hac vice pending)
Karma B. Brown (D.C. Bar No. 479774) (pro hac vice pending)
Hunton Andrews Kurth LLP

2200 Pennsylvania Avenue, NW

Washington, DC 20037-1701

Phone: (202) 955-1500

dduncan@huntonAK.com

kbbrown@huntonAK.com

Counsel for Defendant-Intervenors American Gas
Association, American Petroleum Institute,
Association of Oil Pipe Lines, Interstate Natural
Gas Association of America, and National Rural
Electric Cooperative Association

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
GREAT FALLS DIVISION

NORTHERN PLAINS RESOURCE] Case No. 4:19-cv-00044-GF-BMM

COUNCIL, et al.,
MEMORANDUM IN SUPPORT

Plaintiffs, OF MOTION TO INTERVENE BY
AMERICAN GAS ASSOCIATION,
vy. AMERICAN PETROLEUM
INSTITUTE, ASSOCIATION OF
U.S. ARMY CORPS OF OIL PIPE LINES, INTERSTATE
ENGINEERS, et al., NATURAL GAS ASSOCIATION

 

OF AMERICA, AND NATIONAL
Case 4:19-cv-00044-BMM

Defendants,

TRANSCANADA KEYSTONE
PIPELINE, LP, et al.,

Defendant-Intervenors.

Document 49 Filed 10/15/19 Page 2 of 83

RURAL ELECTRIC
COOPERATIVE ASSOCIATION

 

 
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 3 of 83

TABLE OF CONTENTS

Page
TABLE OF AUTHORITIES. ........cccccssesccesecseeseesenseeeeessesessseeseessscescseserssenseseesnsesneess ii
EXHIBIT INDEX. .........cccscsscssccsseessetsccsceeeceserenesseessessaesssesessssossecesesesaseseasesersesenesenees vi
I. INTRODUCTION. ........:cccsscssescesecsecsecsetensceseesssaessescessssnseeseucsnsensensenecsseasensenes ]
II. STATEMENT OF INTEREST. .........csscssscsscsessecsesssessessessessrnessseesseeentenss 4
A. American Gas Association. ........c.cseccseersscessesseerecsnsssesesssecessentesseenneees 6
B. American Petroleum Institute. ..........cssceseseeeeeteneeesersesseeseeesssneenens 8
C. —_ Association of Oi] Pipe Lines... ee eeeeseecseesssesseseeenesensensesnsesnenses 9
D. Interstate Natural Gas Association Of AMETICA. ..........scccesseerseneeeseeee 10
E. National Rural Electric Cooperative ASSOCIatION...........:cescereeseresseee 12
F, —— Plaintiffs’ Claims. ......... ccc eessceseserseseerscerssosscsnssscsaseseevseesensesserentessess 14
TIL. ARGUMENT .........ccccccccscssscsesecesssecenencsessssosssenessecsssssessssessenssenecatensesseentes 15
A. The NWP 12 Coalition Is Entitled to Intervene as of Right............... 15
l. The Motion to Intervene is Timely. ...........scsssscseneeeeseteseteeeees 15

2. The Coalition Has a Direct and Recognized Interest in
NWP 12—the Subject of this Action. ........ceccssessesseteeneeeeteeees 17

3. The NWP 12 Coalition’s Interests May be Impaired or
Impeded by the Disposition of this Litigation.............sseee 21

4, The Current Parties Do Not Adequately Represent the
NWP 12 Coalition’s Interests. ..........cssscsssscsrsoneeersesesesseeeseeeesns 23

B. Alternatively, the NWP 12 Coalition Should Be Granted

Permissive Intervention, ...........cccceseesesseeceseseseessnnsesensecesenseesessneeseeneees 27
C. Rule 24(c) Is Satisfied. 0... ee eeeeseesseeeccesssssseesssenneeseesseeenseeseseenees 29
TV. CONCLUSION .....sssessssssesssssseccessssceesssececsuscessnseeseunseceasnesesssesesssussssnssesessseess 29

CERTIFCATE OF COMPLIANCE
CERTIFICATE OF SERVICE
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 4 of 83

TABLE OF AUTHORITIES
FEDERAL CASES

Cabinet Mountains Wilderness v. Peterson, 510 F. Supp. 1186

(D.D.C. 1981) ....cceeeceesessecsseesseeeeetsceecsecsnsesceesscecseeseeesseesossevseeeseeonaeeenssseesseess 19
Californians for Safe & Competitive Dump Truck Transp. v.

Mendonca, 152 F.3d 1184 (9th Cir. 1998) 0... eccseessenseeteeesnereneeseesensons 25
Citizens for Balanced Use v. Montana Wilderness Ass’n, 647 F.3d

893 (Oth Cir. 2011). eeeseesccssseceeeneeeecsesseesenssseeseeceeeeesesesesees 17, 21, 23, 24
Conservation Law Found. of New England, Inc. v. Mosbacher, 966

F.2d 39 (1st Cir, 1992). cecssessccseccsssesseersecsssesseessescsrseseetseesesseressessenses 25
Daggett v. Comm’n on Governmental Ethics & Election Practices,

172 F.3d 104 (1st Cir, 1999)... ee eesceseeeeeseeseescesseesseessessssseseeseseeseeeennss 27
Ga. River Network v. U.S. Army Corps of Eng’rs, 334 F. Supp. 2d

1329 (N.D. Ga. 2003) .0....cceesescssscsectsecescsesssacessessecsecasesssecetsacersseseesesesesesonts 19
Georgia v. U.S. Army Corp of Eng’rs, 302 F.3d 1242 (11th Cir, 2002) 0. 24
Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392 (9th Cir. 1995) oo. eeeeeeeeee 16

Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1094 (9th Cir. 2002),
abrogated on other grounds by Wilderness Soc’y v. U.S. Forest

Serv., 630 F.3d 1173 (9th Cir. 2011) on eeescsseceestesesseccsseseeessssressesens 27
NAACP vy. New York, 413 U.S. 345 (1973)... csesscessccsesseensenserserssseeesesseesessaseesseees 15
Nat’! Farm Lines v. Interstate Commerce Comm’n, 564 F.2d 381

(LOth Cir, 1977)... eesessessessesssesersessscenseescetscsecaesesssesaeensessneessesseseeeenes 19, 24
Ohio Valley Envtl. Coal. v. U.S. Army Corps of Eng’rs, 243 F.R.D.

253 (S.D.W.Va. 2007)... ceccsceressecssesesctsscceetsesseecesenssensorsesersseserssaasnesseeesees 19
Perry v. Schwarzenegger, 630 F.3d 898 (9th Cir. 2011) ee eee sseeeesereneee 21, 26

li
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 5 of 83

Rapanos v. United States, 547 U.S. 715 (2006)... cecsssssssssesssscnsssseessssenseerenseneess 5

Sierra Club v. Bostick, No. CIV-12-742-R, 2013 WL 6858685 (W.D.
Okla. Dec. 30, 2013), aff'd, 787 F.3d 1043 (10th Cir. 2015)... 2,3, 20

Sierra Club v. EPA, 995 F.2d 1478 (9th Cir. 1993), abrogated on
other grounds by Wilderness Soc’y v. U.S. Forest Serv., 630

F.3d 1173 (Oth Cir, 2011) wc eecssscsesscsessecsersecsscsseseesesssssresesenssssenesses 18, 20
Sierra Club v. Espy, 18 F.3d 1202 (Sth Cir. 1994) oe eeeeesessecsessssseressesaseneenes 18
South Dakota v. Ubbelohde, 330 F.3d 1014 (8th Cir, 2003)... csesesetsseseneceees 24
Spangler v. Pasadena City Bd. Of Educ., 552 F.2d 1326 (9th Cir.

1977) .eeccsccsssccesseseesnccesseecesseessscesassaseeesacssseaeseseaeeasensenseasonssaasseseeeneserssresressenees 27
Sw. Ctr. For Biological Diversity v. Berg, 268 F.3d 810 (9th Cir.

2OO1) eceecseceenceseecescseesseesesscsseenscesessenssasesssseessosesscesessseeeesennessessesseeesseses 21, 23
Trbovich v. United Mine Workers, 404 U.S. 528 (1972)... :cccessssessersessseeeseseeeevens 23
United States v. Aerojet Gen. Corp., 606 F.3d 1142 (9th Cir, 2010) wee ceseceeees 15
United States v. Albert Inv. Co., 585 F.3d 1386 (10th Cir. 2009) .......ceseeeeeeenes 20
United States v. Alisal Water Corp., 370 F.3d 915 (9th Cir. 2004)... ecccesescenees 15
United States v. City of Los Angeles, 288 F.3d 391 (9th Cir. 2002)... 16, 17

FEDERAL STATUTES
33 U.S.C. § 1344(e)....ccccecsesestecreescenesessenseeaesecsestecseeesssusseesonessersecenrarsessaseaeensees 5,6
FEDERAL RULES
Fed. R. Civ. P. 24(a)(2) ....cesescsssesessseseseeeseeseoressnesssssssssseesanees 14, 15, 17, 23, 26, 28
Fed. R. Civ. P. 24(b)(1)(B).... cece esessecessseeseerecseerevseesessrcsecsssssasenesennnens 26, 27, 28, 29
Fed. R. Civ. P. 24(C) scsccsscsssssssscsssseveccsssssessessssrecssssssesssssssicessssvacsesssveeesssseesssensaeeseese 28

ili
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 6 of 83

FEDERAL REGULATIONS

33 CPR. § 330.2(4) (QOL) secccssssesessescsssscessessssssvvesessssssesscessssvcssssssesveeeesass

FEDERAL REGISTER

81 Fed. Reg. 35,186 (June 1, 2016) oe eee seeeesseeeesseecssecesseesentecenees

82 Fed. Reg. 1860 (Jan. 6, 2017) 0... sescssscsrsesssesssccssssnesssessessseressesessaeenees

DOCKETED MATERIAL

Order, Sierra Club, Inc. v. Bostick, No. 5:12-cv-00742-R (W.D. Okla.
Aug. 1, 2012), ECF No. 50.0... cee ceeccseseetseeseerssenscsseesssesesseseressneesseens

MISCELLANEOUS

API, Comments on Department of the Army, Corps of Engineers,
Proposal to Reissue and Modify Nationwide Permits, 76 Fed.
Reg. 9174 (Feb. 16, 2011) (Apr. 18, 2011), COE-2010-0035-
0234, https://www.regulations.gov/document?D=COE-20 10-

0035-0234 vo eeseesssesrecesretesersseesssssessssoeseecesaseessessseusssnsssanersanesensetenss

API, Comments on Department of the Army, Corps of Engineers,
Proposal to Reissue and Modify Nationwide Permits, 81 Fed.
Reg. 35,186 (June 1, 2016) (Aug. 1, 2016), COE-2015-0017-
0441, https://www.regulations.gov/document?D=COE-2015-

0017-0441 oe eescesscevessccesseersereeceseseesneesessresesssrecessasecesseeeesnnasensaase

INGAA, Comments on Department of the Army, Corps of Engineers,
Proposal to Reissue and Modify Nationwide Permits, 81 Fed.
Reg. 35,186 (June 1, 2016) (Aug. 1, 2016), COE-2015-0017-
0457, https://www.regulations.gov/document?D=COE-2015-

0017-0457 oe ecessccsseceneccernesnessecessscesensesssecusesssesssecsetsessesesaeerentessas

INGAA Foundation, Inc., The, North America Midstream
Infrastructure through 2035; Significant Development
Continues (June 18, 2018),

https://www.ingaa.org/File.aspx?id=34703 .......essccesseseeteeeseeeesenses

iv

seseseeues 10
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 7 of 83

Nystrom, Scott, et al., The Economic Impact of America’s Electric
Cooperatives (Mar. 2019), https://www.electric.coop/wp-
content/uploads/2019/03/Economic_Impact_of_Americas_Elec
tric Cooperatives-3-2019 pdt ..ccessccsseseccenseseesesenssssensrsetisesertsensrresessees 12

Parfomak, Paul W., Cong. Research Serv., IN11060, Pipeline
Security: Homeland Security Issues in the 116'" Congress
(Mar. 1, 2019),
https://crsreports.congress.gov/product/pdf/IN/IN 1 1060.........ssseseneetsereeres 4

Parfomak, Paul W., Cong. Research Serv., RL33347, Pipeline Safety
and Security: Federal Programs (Feb. 18, 2010),
https://www.everycrsreport.com/reports/RL33347. Html... .sseeseeeetsens 4,22

U.S. Dep’t of Homeland Sec., National Infrastructure Protection Plan
(NIPP) 2013: Partnering for Critical Infrastructure Security
and Resilience (undated),
https://www.dhs.gov/sites/default/files/publications/national-
infrastructure-protection-plan-20 13-508 pdf... .scscssesesesenrerserersereseceenees 22
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 8 of 83

Exhibit 1

Exhibit 2

Exhibit 3

Exhibit 4

Exhibit 5

EXHIBIT INDEX

Affidavit of Michael L. Murray for the American Gas
Association (Oct. 10, 2019)

Affidavit of Robin Rorick for the American Petroleum
Institute (Oct. 9, 2019)

Affidavit of Andrew Black for the Association of Oil Pipe
Lines (Oct. 7, 2019)

Affidavit of Joan Dreskin for the Interstate Natural Gas
Association of America (Oct. 10, 2019)

Affidavit of Dorothy Kellogg for the National Rural Electric
Cooperative Association (Oct. 9, 2019)

vi
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 9 of 83

IL INTRODUCTION

Plaintiffs ask this Court to find unlawful U.S. Army Corps of Engineers
(“Corps”) Clean Water Act (“CWA”) Nationwide Permit 12, Utility Line
Activities (“NWP 12”).'! Five national energy organizations (the “NWP 12
Coalition” or “Coalition”) move to intervene to defend against Plaintiffs’
wholesale challenge to NWP 12: American Gas Association (“AGA”), American
Petroleum Institute (“API”), Association of Oil Pipe Lines (“AOPL”), Interstate
Natural Gas Association of America (“INGAA”), and National Rural Electric
Cooperative Association (“NRECA”).”

The NWP 12 Coalition has been involved in the development and defense of
NWP 12 since its inception over four decades ago. Coalition members routinely
rely upon NWP 12 for the timely authorization of activities that have minimal
environmental effects, but that are essential to the reliable, safe, and affordable
delivery of energy to U.S. consumers, including rural customers, schools,

hospitals, and businesses nationwide. Indeed, many Coalition members have

 

'NWP 12, “Utility Line Activities,” authorizes minor, and typically temporary,
discharges associated with “the construction, maintenance, or repair of utility
lines.” See 82 Fed. Reg. 1860, 1985 (Jan. 6, 2017).

2 The NWP 12 Coalition does not intend to address Plaintiffs’ specific claims
concerning the Keystone XL Pipeline Project (“Project”) and will defer to the
Federal Defendants and Defendant-Intervenor TransCanada Keystone Pipeline, LP
and TC Energy Corporation (collectively “TC Energy”) with respect to those
claims.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 10 of 83

public service obligations to deliver energy to their customers, and this demand
could not be met without the streamlined authorization provided by NWP 12.

The Coalition’s members are the energy companies primarily responsible,
on a national scale, for utility line activities that rely on NWP 12, and, thus, there is
a direct and substantial relationship between NWP 12 and the Coalition’s
members’ activities. Due to their significant interests in NWP 12, when Plaintiff
Sierra Club brought a similar challenge in the Western District of Oklahoma,
asserting that NWP 12 was unlawful under the CWA, Administrative Procedure
Act (“APA”), and National Environmental Policy Act (“NEPA”), the Coalition
intervened in defense of NWP 12. Order, Sierra Club, Inc. v. Bostick, No. 5:12-cv-
00742-R (W.D. Okla. Aug. 1, 2012), ECF No. 50 (granting intervention). The
Coalition’s participation in Bostick provided the district and appellate courts with
the perspective of the nationwide holders of the permit, and the courts expressly
relied on many of the Coalition’s arguments in upholding NWP 12. Sierra Club v.
Bostick, No. CIV-12-742-R, 2013 WL 6858685, at *9 & n.11, 10, 12 n.16, 13-14,
21 (W.D. Okla. Dec. 30, 2013) (upholding NWP 12 and granting the Federal
Defendants’ and Defendant-Intervenors’ motions for summary judgment), aff'd,
787 F.3d 1043 (10th Cir. 2015) (“Bostick”).

The Coalition maintains the same interests here as it did in Bostick—

ensuring the continued availability of NWP 12. Plaintiffs, having failed to make
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 11 of 83

their case in Bostick, once again challenge NWP 12 on many of the same grounds.’
If NWP 12 is found unlawful, the Coalition’s members may be forced to engage in
lengthy and expensive individual CWA permit processes to undertake time-
sensitive construction, maintenance, and repair activities on utility lines and
intrastate and interstate natural gas pipelines across the country. The delay and
expense resulting from those permitting processes would harm, not only the
Coalition’s members, but more importantly, the public—including residences,
businesses, schools, hospitals, and government entities— and impede our nation’s
economy, energy security, and energy diversity.

Accordingly, the NWP 12 Coalition moves to intervene in this action,
pursuant to Federal Rule of Civil Procedure 24(a) and (b), to defend against
Plaintiffs’ challenge to NWP 12, including their request to have NWP 12 declared
unlawful pursuant to the APA, CWA, NEPA, and Endangered Species Act
(“ESA”). The Coalition is entitled to intervene as a matter of right pursuant to
Federal Rule of Civil Procedure 24(a)(2) because: (1) the motion to intervene is

timely; (2) the Coalition has a direct interest in NWP 12, the subject of this case;

 

3 For example, in Bostick as well as here, Plaintiffs challenge the definition of
“‘single and complete project,’” which, for linear projects, authorizes use of NWP
12 for crossings of separate water bodies or for crossings of a single water body at
separate and distant locations. 33 C.F.R. § 330.2(i) (2011). The “‘single and
complete project’” definition was upheld in Bostick. Bostick, 2013 WL 6858685,
at *20.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 12 of 83

(3) this interest may be impaired or impeded by the disposition of this case; and (4)
the other parties do not adequately represent the Coalition’s interests.

Intervention will allow the NWP 12 Coalition to defend its unique and
critical interests in NWP 12 and will aid the Court in understanding the history,
development, and purpose of NWP 12, as well as the merits and implications of
Plaintiffs’ claims and requested relief on a nationwide scale.*

Il. STATEMENT OF INTERESTS

The safe and reliable supply of energy at an affordable cost requires the
construction and maintenance of thousands of miles of linear pipelines and
electrical transmission and distribution lines.» The need to supply electricity,
natural gas, and other energy sources over long distances to all areas of the country
means that pipelines, electric transmission lines, and other linear structures must at

times unavoidably cross wetlands and other waters of the U.S.

 

* Plaintiffs oppose the NWP 12 Coalition’s Motion to Intervene. The Federal
Defendants consent to the Coalition’s Motion for Permissive Intervention, and
Defendant-Intervenors TC Energy and the State of Montana consent to this
Motion.

> Steady and reliable energy is essential to our national security. See Paul W.
Parfomak, Cong. Research Serv., RL33347, Pipeline Safety and Security: Federal
Programs | (Feb. 18, 2010),
https://www.everycrsreport.com/reports/RL33347.html (“CRS Report”). See also
Paul W. Parfomak, Cong. Research Serv., IN11060, Pipeline Security: Homeland
Security Issues in the 116'* Congress at 1 (Mar. 1, 2019),
https://crsreports.congress.gov/product/pdf/IN/IN 1 1060.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 13 of 83

NWP 12 authorizes small discharges of dredged or fill material into waters
of the U.S. that have “only minimal adverse environmental effects,” as provided by
Congress in CWA section 404(e), 33 U.S.C. § 1344(e).6 The NWP 12 Coalition’s
members routinely rely on NWP 12 for the timely authorization of specific utility
line activities, including critical maintenance and servicing, which the Corps has
determined have only minimal impacts on the aquatic environment. Many of the
utility line activities covered by NWP 12 are either overhead lines, which cross
above water bodies, or lines placed underground with only minor, temporary
impacts, after which the affected areas are returned to pre-construction elevations
and revegetated, as appropriate. 82 Fed. Reg. at 1986.

Nationwide permits authorize these minor discharges without the need for
lengthy and expensive individual CWA section 404 permit proceedings.’
Significantly, the Corps’ requirements to qualify for NWP 12 limit its application

to covered utility line activities that cause no more than minimal impacts to the

 

6 Tn establishing the NWP program, Congress recognized the importance of the
NWP streamlined permitting approach to protect the efficiency and usefulness of
the CWA section 404 program, fearing that detailed regulation of such relatively
minor activities would undermine overall environmental protection by impairing
the Corps’ ability to focus on more significant activities.

7 “The average applicant for an individual permit spends 788 days and $271,596 in
completing the:process, and the average applicant for a nationwide permit spends
313 days and $28,915—not counting costs of mitigation or design changes.”
Rapanos v. United States, 547 U.S. 715, 721 (2006).
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 14 of 83

environment.’ Moreover, review and re-issuance of the nationwide permits
through notice and comment rulemaking every five years ensures an ongoing
review of the sufficiency of these protections.’

The NWP 12 Coalition’s members are the companies primarily responsible,
on a national scale, for the activities authorized by NWP 12.

A, American Gas Association.

AGA, founded in 1918, is a national trade association that represents more
than 200 local energy companies that deliver and distribute clean natural gas to
local residential, commercial, institutional, and industrial customers throughout the
country. There are more than 74 million residential, commercial, and industrial

natural gas customers in the U.S., of which 95%—more than 71 million

 

8 NWP 12 imposes a 1/2 acre limit on the “loss of ... waters” for each distinct
water body and each separate and distant crossing, requires compliance with 32
general conditions, regional conditions, and any project-specific conditions. 82
Fed. Reg. at 1985-86. Use of NWP 12 further requires pre-construction
notification to the Corps District in at least seven distinct circumstances, including
information about all water body crossings along the entire line, thereby allowing
the District to further evaluate individual and cumulative effects and add project-
specific conditions or require an individual permit. Jd. at 1986. The numerous
terms governing NWP 12 ensure compliance with the statutory standard. 33
U.S.C. § 1344(e).

9? NWP 12 was reissued in 2017. See 82 Fed. Reg. 1860 (Jan. 6, 2017).
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 15 of 83

customers—receive their gas from AGA members.'° Today, natural gas meets
about % of the country’s energy needs.!!

AGA members rely on NWP 12 to obtain streamlined approvals for gas pipe
installation and maintenance projects, which are essential to provide safe, reliable
transportation of cleaner burning natural gas to businesses and residences. AGA
members must install new natural gas utility lines on a regular basis, both to extend
service to new customers and to replace older lines and improve system integrity
and pipeline safety. Gas distribution lines and utility-operated intrastate natural
gas transmission pipelines can cover many miles and often cross streams, wetlands,
or other waters of the U.S. Many of these minor crossing projects could require
individual section 404 permits if NWP 12 was not available.

The Department of Transportation Pipeline and Hazardous Materials Safety
Administration, state laws, and public utility commission regulations and decisions
require AGA member utilities to provide safe, reliable natural gas service to
customers at just and reasonable rates, which requires maintaining, improving and
expanding natural gas distribution and transmission systems in a cost-effective
manner. In light of the federal and state regulatory requirements to maintain this

extensive network of existing distribution mains and transmission pipelines and to

 

10 See Affidavit of Michael L. Murray § 3 (“Murray Aff.”) (Ex. 1).
"Yd.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 16 of 83

construct new mains and pipelines, AGA members routinely rely on and will
continue to rely on NWP 12.2

B. American Petroleum Institute.

API is a nationwide, non-profit trade association that represents all facets of
the natural gas and oil industry, which supports 10.3 million U.S. jobs and nearly
8% of the U.S. economy.!? API’s more than 600 member companies include large
integrated companies, as well as exploration and production, refining, marketing,
pipeline, and marine businesses, and service and supply firms.'* API was formed
in 1919 asa standards-setting organization, and API has developed more than 700
standards to enhance operational and environmental safety, efficiency, and
sustainability."

API members engage in exploration, production, and construction projects
that routinely involve both state and federal water permitting.'© API’s members
rely on an efficient and reasonable permitting process, as provided by the NWPs,
including NWP 12, to obtain required CWA approvals for the construction,

inspection, maintenance, and repair of oil, gas, natural gas liquids, and refined

 

'2 See id. J 10.

13 See Affidavit of Robin Rorick 3 (“Rorick Aff.”) (Ex. 2).
14 Id.

13 Id.

6 Id 44.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 17 of 83

product pipelines.'? To protect these significant interests, API filed comments in
response to the Corps’ February 16, 2011 and June 1, 2016 proposals to reissue
and modify the nationwide permits."

C. Association of Oil Pipe Lines.

AOPL is a national trade association that represents owners and operators of
oil pipelines across North America and educates the public about the vital role oil
pipelines serve in the daily lives of Americans. AOPL members transport
approximately 96% of the crude oil and refined petroleum products shipped
through pipelines in the U.S. AOPL members bring crude oil to the nation’s
refineries, natural gas liquids to manufacturers and industrial users, jet fuel to
airports, and petroleum products to our communities."

AOPL members routinely rely on NWP 12 authorizations for the

construction, maintenance, and repair of their liquid pipelines.” AOPL members

 

7 1d. 99 5,7, 8, 9.

18 API, Comments on Department of the Army, Corps of Engineers, Proposal to
Reissue and Modify Nationwide Permits, 76 Fed. Reg. 9174 (Feb. 16, 2011) (Apr.
18, 2011), COE-2010-0035-0234,

https://www.regulations.gov/document? D=COE-2010-0035-0234; API, Comments
on Department of the Army, Corps of Engineers, Proposal to Reissue and Modify
Nationwide Permits, 81 Fed. Reg. 35,186 (June 1, 2016) (Aug. 1, 2016), COE-
2015-0017-0441, https://www.regulations.gov/document?7D=COE-2015-0017-
0441,

19 See Affidavit of Andrew Black § 4 (“Black Aff.”) (Ex. 3).
20 See id. JJ 9-10.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 18 of 83

seeking to ensure the integrity and safety of their pipelines through maintenance
and repair projects would face significant delays and costs if NWP 12 is found
unlawful, which, in turn, could affect their customers’ supply and costs of
obtaining crude oil and refined petroleum products.

D. Interstate Natural Gas Association of America.

INGAA is a non-profit trade association representing virtually all of the
interstate natural gas transmission pipeline companies operating in the U.S.
INGAA’s members, which constitute approximately two-thirds of the interstate
pipeline industry, operate a network of approximately 200,000 miles of pipelines.”’

Natural gas plays a prominent role in the nation’s energy mix, and interstate
natural gas pipelines are an integral part of the energy infrastructure.” U.S. natural
gas production is expected to increase to 130 billion cubic feet per day by 2035,
spurred by growing markets, if available supplies are developed, and it is estimated
that investment in new oil and gas infrastructure will total $791 billion from 2018
through 2035, averaging $44 billion per year.”? Natural gas also will serve as a

backstop to help firm up variable renewables, like wind and solar, which are

 

21 See Affidavit of Joan Dreskin § 3 (“Dreskin Aff.”) (Ex. 4).
22 Id. | 12.

23 The INGAA Foundation, Inc., North America Midstream Infrastructure through
2035; Significant Development Continues at 3 (June 18, 2018),
https://www.ingaa.org/File.aspx?id=34703.

10
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 19 of 83

expected to grow. This translates to the need for thousands of miles of new and
replacement pipe to meet market demand or to modernize existing pipeline
facilities.”

Interstate natural gas pipeline construction and maintenance activities are
typically conducted on tight schedules designed to ensure the safety, security, and
reliability of the natural gas pipeline network, and to meet the growing demands of
natural gas consumers,”> Pipeline construction and maintenance operations often
unavoidably cross wetlands and streams due to their linear nature, and require
permitting and mitigation under CWA section 404 and/or section 10 of the Rivers
and Harbors Act. INGAA members regularly rely on NWPs to streamline
permitting for their construction and maintenance projects.”°

To protect its interests in the NWP program, INGAA filed comments on
August 1, 2016 in response to the Corps’ proposal to reissue and modify the

nationwide permits.?” Based on the extent to which INGAA members rely on

 

24 See id. at 65; Dreskin Aff. q 5.
3 Dreskin Aff. 7 8.
6 Id ¥ 11.

27 Id. | 13; INGAA, Comments on Department of the Army, Corps of Engineers,
Proposal to Reissue and Modify Nationwide Permits, 81 Fed. Reg. 35,186 (June 1,
2016) (Aug. 1, 2016), COE-2015-0017-0457,
https://www.regulations.gov/document? D=COE-2015-0017-0457.

11
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 20 of 83

NWP 12 and the pipeline construction outlook ahead, INGAA’s members have
significant interests at stake in this challenge.

E. National Rural Electric Cooperative Association.

NRECA, formed in 1942, is a national trade association that represents the
national interests of nearly 900 not-for-profit rural electric cooperatives and the
communities they serve. NRECA is dedicated to bringing electrical service to vast
unserved regions of the country, and to provide safe, reliable, and affordable
electric power through electric cooperative entities. Electric cooperatives have
legal public service obligations to provide reliable electric service to their customer
members.”°

Electric cooperatives provide power to one in eight people in this country,
and NRECA members serve more than 20 million businesses, homes, schools,
hospitals, farms, irrigation systems, and other establishments.” Cooperatives own
42% of the nation’s electrical distribution lines and cover over 56% of the U.S.

land mass.*° In 2017, electric cooperatives supported 611,600 jobs and contributed

 

8 See Affidavit of Dorothy Kellogg § 4 (“Kellogg Aff.”) (Ex. 5).
9 1d 73.
30 Td. 913, 5.

12
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 21 of 83

$88.4 billion to the U.S. GDP annually, including investing $12 billion annually in
local economies.*!

To provide electricity to communities across the U.S., NRECA’s members
engage in construction, operation, and maintenance of thousands of miles of
transmission and distribution lines, as well as other utility operations that
periodically take place in wetlands and other waters of the U.S. NRECA’s
members depend on NWP 12 to conduct these utility line activities, to ensure
timely and reliable installation of electric transmission and distribution lines to
deliver essential power to homes, public institutions, and businesses, and to
perform maintenance on existing lines, which is critical to reliability.*?

NRECA’s members have a longstanding interest in nationwide permits,
particularly NWP 12, and NRECA has participated in the nationwide permit
rulemaking process during each reissuance.*? If NRECA’s members could not rely
on NWP 12 for utility line construction and maintenance, they would be required

to engage in the often lengthy and expensive individual CWA permitting process,

with potentially significant adverse impacts to their customers’ accessibility to

 

3! Id. J 5; see also Scott Nystrom et al., The Economic Impact of America’s
Electric Cooperatives 10 (Mar. 2019), https://www.electric.coop/wp-
content/uploads/2019/03/Economic_Impact_of_Americas_Electric_Cooperatives-
3-2019.pdf.

2 Kellogg Aff. Ff 8-9.
31d 411.

13
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 22 of 83

reliable and secure energy services at a reasonable cost. These costs and delays
could impede cooperatives’ ability to fulfill their public service obligations to
ensure a reliable supply of electricity to rural consumers.

F. Plaintiffs’ Claims.

Plaintiffs’ First Amended Complaint includes five claims: three challenges
to NWP 12 and two challenges to the Project’s verifications.*4 Plaintiffs ask the
Court to declare that the reissuance of NWP 12 violates the CWA, APA, NEPA,
and the ESA, and to remand NWP 12 to the Corps to remedy these alleged
deficiencies. (Doc. 26 at 87-88).

The NWP 12 Coalition seeks to defend against Plaintiffs’ facial claims to
NWP 12, which allege, inter alia, that the Corps’ reissuance of NWP 12 violates
the: (1) NEPA and APA because the Corps’ Environmental Assessment / Finding
of No Significant Impact was arbitrary and capricious (Doc. 26 at JJ 191-197); (2)
CWA section 404(e) and APA because the Corps failed to ensure that projects
authorized by NWP 12 will have only minimal adverse environmental effects
(Doc. 26 at Jf] 198-205): and (3) ESA and APA because the Corps did not
undertake programmatic formal ESA section 7 consultation (Doc. 26 at J§ 218-

227).

 

34 The Coalition intends to defer to the Federal Defendants and Defendant-
Intervenor TC Energy to address Project-specific claims.

14
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 23 of 83

Ill. ARGUMENT
A. The NWP 12 Coalition Is Entitled to Intervene as of Right.

Federal Rule of Civil Procedure 24(a)(2) provides that, “[o]n timely motion,
the court must permit anyone to intervene” who:
claims an interest relating to the property or transaction
that is the subject of the action, and is so situated that
disposing of the action may as a practical matter impair

or impede the movant’s ability to protect its interest,
unless existing parties adequately represent that interest.

Fed. R. Civ. P. 24(a)(2) (emphasis added); see also United States v. Aerojet Gen.
Corp., 606 F.3d 1142, 1148 (9th Cir. 2010). In determining whether intervention
is appropriate, the Ninth Circuit is “guided primarily by practical and equitable
considerations, and the requirements for intervention are broadly interpreted in
favor of intervention.” Aerojet Gen. Corp., 606 F.3d at 1148 (internal quotations
and citation omitted). The NWP 12 Coalition satisfies each of the requirements
under Rule 24(a)(2). Accordingly, the Coalition respectfully requests the Court
grant intervention as of right.

1. The Motion to Intervene is Timely.

The timeliness of a motion to intervene “is to be determined from all the
circumstances” of the case. NAACP v. New York, 413 U.S. 345, 366 (1973). In
evaluating the timeliness of a motion to intervene, courts consider “(1) the stage of

the proceeding at which an applicant seeks to intervene; (2) the prejudice to other

15
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 24 of 83

parties; and (3) the reason for and length of the delay.” United States v. Alisal
Water Corp., 370 F.3d 915, 921 (9th Cir. 2004) (internal quotations and citation
omitted). The Coalition’s motion to intervene is timely, and the Coalition plans to
work collaboratively and efficiently with the other parties.

Plaintiffs filed their original complaint on July 1, 2019 (Doc. 1), and their
First Amended Complaint on September 10, 2019 (Doc. 36). Upon filing of the
complaint, the five separate and diverse trade associations that comprise the NWP
12 Coalition promptly joined together, as they did in Bostick, for purposes of
intervening to provide a unified industry perspective on the national-level issues
involved in this litigation and to defend their members’ interests.

The Ninth Circuit has found intervention to be timely when proposed
intervenors filed under similar circumstances. See, e.g., United States v. City of
Los Angeles, 288 F.3d 391, 398 (9th Cir. 2002) (noting that intervention motion
was timely when filed “only approximately one and [a] half months after the suit
was filed”); Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1397 (9th Cir.
1995) (permitting intervention when the “very early” motion was submitted four
months after filing of the action, two months after defendants filed an answer and
submitted the administrative record, and “before any hearings or rulings on

substantive matters”).

16
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 25 of 83

The Coalition has proceeded expeditiously. The litigation is at a very early
stage. The Federal Defendants filed an answer on October 1, 2019 (Doc. 39), and
TC Energy filed an answer on October 8, 2019 (Doc. 45). The Court has not ruled
on any dispositive matter, and the merits of Plaintiffs’ wholesale challenge to NWP
12 only may be decided based on the administrative record, which has not yet been
lodged with the Court.

If granted intervention, the NWP 12 Coalition is prepared to comply with
any established scheduling deadlines negotiated by the parties or imposed by the
Court. Under these circumstances, the Coalition’s motion is timely and allowing
intervention at this early stage in the proceedings will not delay this action or
unfairly prejudice the parties.

2. The Coalition Has a Direct and Recognized Interest in NWP
12—the Subject of this Action.

To intervene as of right, a movant must have an “interest relating to the
property or transaction that is the subject of the action.” Fed. R. Civ. P. 24(a)(2).
Whether a movant has “a significant protectable interest in the action” “is a
‘practical, threshold inquiry,’ and ‘[n]o specific legal or equitable interest need be
established.’” Citizens for Balanced Use v. Montana Wilderness Ass'n, 647 F.3d
893, 897 (9th Cir. 2011) (citation omitted). The movant need only “establish that
the interest is protectable under some law and that there is a relationship between

the legally protected interest and the claims at issue.” Jd. “The relationship

17
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 26 of 83

requirement is met ‘if the resolution of the plaintiff's claims actually will affect the
[movant].’” City of Los Angeles, 288 F.3d at 398 (citation omitted).

Here, the NWP 12 Coalition’s members are the entities that primarily rely
upon NWP 12. These diverse energy companies historically have relied, currently
rely, and in the future intend to rely, on NWP 12 authorizations to, among other
things, support their obligations to provide reliable transportation and delivery of
power, natural gas, oil, and other hydrocarbons to their customers at a reasonable
cost and conduct maintenance, inspection and emergency work under short
timeframes set by federal regulation.*> If repairs cannot be accomplished within
required timeframes, the affected portions of the system may be required to shut
down, or operate at reduced pressure, with potentially severe environmental and
economic consequences as customers must use alternative supplies, if available, or
even curtail their operations.*° An inability to complete these time sensitive
maintenance and repair activities could have wide-ranging and serious
consequences,

Entities relying on federal permits, such as the Coalition’s members’
reliance on NWP 12 authorizations, are routinely granted intervention in actions

challenging those permits. See, e.g., Sierra Club v. EPA, 995 F.2d 1478, 1482 (9th

 

35 See Kellogg Aff. 9§ 14-15; Black Aff. J 12-14.
36 Dreskin Aff. | 12; Black Aff. | 14.

18
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 27 of 83

Cir. 1993) (CWA permit holder entitled to intervene as a matter of right),
abrogated on other grounds by Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d
1173 (9th Cir. 2011) (en banc); see also Sierra Club v. Espy, 18 F.3d 1202 (Sth
Cir. 1994) (timber purchasers’ association whose members had timber contracts
that provided sufficient interest to intervene of right in suit seeking ban on timber
management); Nat’] Farm Lines v. Interstate Commerce Comm’n, 564 F.2d 381,
382 (10th Cir. 1977) (reversing denial of intervention to motor vehicle common
carriers based on risk that suit would set aside regulatory scheme that “directly
protects their economic interests”); Ohio Valley Envtl. Coal. v. U.S. Army Corps of
Eng’rs, 243 F.R.D. 253 (S.D.W.Va. 2007) (mining companies holding Corps
permits permitted to intervene as a matter of right); Ga. River Network v. U.S.
Army Corps of Eng’rs, 334 F. Supp. 2d 1329 (N.D. Ga. 2003) (holder of Corps
permit allowed to intervene in NEPA suit challenging permit); Cabinet Mountains
Wilderness y. Peterson, 510 F. Supp. 1186 (D.D.C. 1981) (holder of drilling permit
allowed to intervene in challenge to Forest Service approval of exploratory plan).
Moreover, the Coalition’s substantial interests in NWP 12 are evidenced by
their active participation in the development of the NWPs throughout their history,
including by filing detailed comments during each re-issuance of the NWPs. Most

recently, members of the NWP Coalition submitted comments in response to the

19
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 28 of 83

Corps’ 2016 proposal to reissue and modify the NWPs,*’ which were part of the
administrative record before the Corps when it prepared the NWP 12 decision
document. And the court in Bostick plainly recognized the significant interests of
the NWP 12 Coalition when it granted the Coalition’s motion to intervene and
expressly relied on the Coalition’s defense of NWP 12 and expertise on these
issues in deciding the merits of the case. See Bostick, 2013 WL 6858685, at *9
n.11, 12n.16.

Lastly, in the context of the CWA, a non-speculative economic interest in
the outcome of the litigation is sufficient to warrant intervention. Sierra Club, 995
F.2d at 1483; see also United States v. Albert Inv. Co., 585 F.3d 1386, 1393 (10th
Cir. 2009) (“threat of economic injury from the outcome of litigation undoubtedly
gives a petitioner the requisite interest” to warrant intervention (internal quotation
marks and citation omitted)). If Plaintiffs’ request for a judgment declaring NWP
12 unlawful is granted, the NWP 12 Coalition’s members may be required to
obtain individual CWA permits for utility line construction or maintenance. The
Coalition’s members and consumers nationwide would be impacted negatively by

any requirement to obtain an individual permit for activities the Corps has

 

37 81 Fed. Reg. 35,186 (June 1, 2016).

20
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 29 of 83

determined have only minimal impacts on the aquatic environment.** Thus, NWP
12 Coalition’s members—and ultimately their customers—face a real and present
threat of economic injury should Plaintiffs prevail in this lawsuit.

In sum, the NWP 12 Coalition has substantial interests that are directly
implicated by Plaintiffs’ lawsuit.*°

3. The NWP 12 Coalition’s Interests May be Impaired or
Impeded by the Disposition of this Litigation.

Courts in this circuit adhere to “the guidance of Rule 24 advisory committee
notes that state that ‘[i]f an absentee would be substantially affected in a practical
sense by the determination made in an action, he should, as a general rule, be
entitled to intervene.’” Sw. Ctr. for Biological Diversity, 268 F.3d at 822 (citation
omitted). Impairment is routinely found when the movant has “a significant
protectable interest”—in those circumstances, courts have “little difficulty

concluding that the disposition of th[e] case may, as a practical matter affect” the

 

38 See Black Aff. 4 12-13; Murray Aff. § 14; Rorick Aff. J] 6, 12; Dreskin Aff.
q 15; Kellogg Aff. ¥ 15.

39 Although the NWP 12 Coalition is not required to separately demonstrate
standing to participate as defendant-intervenors, see Perry v. Schwarzenegger, 630
F.3d 898, 906 (9th Cir. 2011) (per curiam), the Coalition’s interests in NWP 12,
and the impairment the Coalition and its members would suffer if the plaintiffs
prevail, easily satisfy any standing requirement. See Sw. Ctr. for Biological
Diversity v. Berg, 268 F.3d 810, 821 n.3 (9th Cir. 2001).

21
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 30 of 83

movant. Citizens for Balanced Use, 647 F.3d at 898 (emphasis added) (internal
quotations and citation omitted).

Here, it is readily apparent that, if NWP 12 is found unlawful, the
Coalition’s members’ interests could be substantially impaired or impeded. A
court order declaring NWP 12 to be unlawful and remanding the permit to the
Corps may not only require the Coalition’s members to obtain individual section
404 permits for routine construction and maintenance activities, but also may
significantly impair or impede their broader interests.*” Collectively, the member
companies of the NWP 12 Coalition control a significant segment of the nation’s
critical infrastructure that transports fuel and energy. Some of these companies are
obligated by federal and/or state regulatory requirements to provide safe and
reliable service at a reasonable price, and they are under increasing pressure from
the federal government to undertake projects to ensure their plants, pipes, facilities,
and assets provide timely, secure, and reliable service to their public and private
sector customers.*! Regulators, Congress, and customers understand that safe and

reliable energy service is essential to our nation’s security, public health and

 

40 Murray Aff. J 14; Rorick Aff. J 12; Black Aff. § 12; Dreskin Aff. 7 15; Kellogg
Aff. 9 14, 15.

4! See CRS Report at 1.

22
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 31 of 83

safety, economic viability, and way of life.’? The inability to proceed with new
construction, upgrades, and maintenance activities through a timely, efficient, and
cost-effective permitting process would hinder the Coalition’s members’ ability to
accomplish these important missions and directives.”

4, The Current Parties Do Not Adequately Represent the
NWP 12 Coalition’s Interests.

The Coalition has significant protectable interests that may be impaired by
the disposition of this litigation, and thus, the right to intervene as long as its
interests may not be adequately represented by the existing parties. Fed. R. Civ. P.
24(a)(2). Adequacy of representation is determined by “examin[ing] three factors:
‘(1) whether the interest of a present party is such that it will undoubtedly make all
of a proposed intervenor’s arguments; (2) whether the present party is capable and
willing to make such arguments; and (3) whether a proposed intervenor would
offer any necessary elements to the proceeding that other parties would neglect.”

Citizens for Balanced Use, 647 F.3d at 898 (citation omitted). Only a “‘minimal’”

showing is required to establish this element of the legal standard for intervention

 

42 See U.S. Dep’t of Homeland Sec., National Infrastructure Protection Plan
(NIPP) 2013: Partnering for Critical Infrastructure Security and Resilience
(undated), https://www.dhs.gov/sites/default/files/publications/national-
infrastructure-protection-plan-2013-508.pdf.

43 Murray Aff. §f] 8, 10; Rorick Aff. ff 8, 12; Black Aff. § 14; Dreskin Aff. {| 15;
Kellogg Aff. ¥ 15.

23
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 32 of 83

by right under Rule 24(a)(2). Id.; see also Trbovich v. United Mine Workers, 404
U.S. 528, 538 n.10 (1972).

In cases like this —where the NWP 12 Coalition seeks to intervene on the
same side as the government—the Ninth Circuit permits a private party to
intervene even when the government and private party desire the same outcome.
Sw. Ctr. for Biological Diversity, 268 F.3d at 823. This is so because “the
government’s representation of the public interest may not be identical to the
individual parochial interest of a particular group” notwithstanding that “both
entities occupy the same posture in the litigation.” Citizens for Balanced Use, 647
F.3d at 899 (internal quotations and citations omitted).

The existing parties do not adequately represent the Coalition’s interests.
Although the Federal Defendants generally may share the NWP 12 Coalition’s
desire to defend NWP 12, the broad balance of environmental, administrative,
public, and other interests the government must consider in addressing the claims
differs markedly from the Coalition’s specific interests in protecting the rights and
expectations of their members and other entities that rely on NWP 12.% Asa

result, the positions the Federal Defendants may take during the litigation (or any

 

44 See Nat’l Farm Lines, 564 F.2d at 383 (recognizing the inadequacy of
government representation of the interests of private trade associations whose
members had a direct economic interest in preserving a statute that government did
not have).

24
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 33 of 83

settlement discussions) will neither necessarily align with the positions that the
NWP 12 Coalition would take, nor adequately represent the Coalition’s interests.
See, e.g., South Dakota v. Ubbelohde, 330 F.3d 1014, 1025-26 (8th Cir. 2003) (in
suit challenging Corps policy to lower reservoir water level, Corps could not
adequately represent interests of proposed intervenors—downstream users—
because Corps was required to balance the interests of the upstream and
downstream users); Georgia v. U.S. Army Corps of Eng’rs, 302 F.3d 1242, 1259
(11th Cir. 2002) (“a federal defendant with a primary interest in the management
of a resource” does not have an “interest[] identical to those of an entity with an
economic interest[] in the use of that resource”) (citation omitted); Conservation
Law Found. of New England, Inc. v. Mosbacher, 966 F.2d 39, 44-45 (ist Cir.
1992) (“governmental entity charged by law with representing the public interest
of its citizens might shirk its duty were it to advance the narrower interest of a
private entity”).

Put simply, the Federal Defendants’ primary interests in this case are to
defend the Corps’ permitting policies and procedures and its administrative
resources. The Federal Defendants do not have any particular stake in protecting
the Coalition’s rights and expectations in NWP 12, and may be constrained by
federal policy or litigation strategy from making certain arguments in defense of

NWP 12. See Californians for Safe & Competitive Dump Truck Transp. v.

25
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 34 of 83

Mendonca, 152 F.3d 1184, 1190 (9th Cir. 1998) (recognizing the different,
narrower interests of a private intervenor and the more general interests of the
public at large). Moreover, the Corps would not face the same consequences the
NWP 12 Coalition’s members would face if NWP 12 is declared unlawful.

Intervenor TC Energy also will not adequately represent the NWP 12
Coalition because its interests are primarily focused on constructing and operating
the Project. See (Doc. 19 at 1, 10-11). By contrast, the NWP 12 Coalition will not
focus on Plaintiffs’ Project-specific allegations, but rather solely on defense of
Plaintiffs’ facial challenges to NWP 12. Similarly, Intervenor State of Montana
will not adequately represent the NWP 12 Coalition, because its interests are
focused on protecting its citizens, public safety, promoting economic development,
and the State’s role in siting oil pipelines. (Doc. 43).

Lastly, the NWP 12 Coalition has a direct, substantial, and focused interest
in any settlement negotiations that may result from this litigation because the
Coalition’s members have an independent interest in supporting and upholding
NWP 12 the other parties do not share, and the Coalition may have an interest in
appealing an adverse decision that the existing parties may not share. Given the
genuine potential for divergence of interests, it is clear that representation by
existing parties may be inadequate and, as a result, the Coalition is entitled to

intervene as of right.

26
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 35 of 83

B. Alternatively, the NWP 12 Coalition Should Be Granted
Permissive Intervention.

Although the Coalition is entitled to intervene as of right under Rule
24(a)(2), in the alternative, the Court should permit the NWP 12 Coalition to
intervene under Rule 24(b)(1)(B). Under Rule 24(b)(1)(B), the Court may exercise
its discretion to permit intervention by anyone who “has a claim or defense that
shares with the main action a common question of law or fact.” Fed. R. Civ. P.
24(b)(1)(B); see also Perry, 630 F.3d at 905. This Court has broad discretion to
grant permissive intervention. See Kootenai Tribe of Idaho v. Veneman, 313 F.3d
1094, 1110 (9th Cir. 2002), abrogated on other grounds by Wilderness Soc’y v.
U.S. Forest Serv., 630 F.3d 1173 (9th Cir. 2011) (en banc).

In deciding whether to allow intervention under Rule 24(b)(1)(B), the Court
may consider any number of factors, see Spangler v. Pasadena City Bd. of Educ.,
552 F.2d 1326, 1329 (9th Cir. 1977), but intervention should generally be
permitted when the movant (1) asserts an interest related to the agency rule in
dispute, and (2) defenses that respond directly to the plaintiff's claim for relief.
Kootenai Tribe, 313 F.3d at 1110. “The fact that the applicants may be helpful in
fully developing the case is a reasonable consideration in deciding on permissive

intervention.” Daggett v. Comm’n on Governmental Ethics & Election Practices,

172 F.3d 104, 113 (1st Cir. 1999).

27
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 36 of 83

Permissive intervention is warranted here. Plaintiffs seek to have NWP 12
declared unlawful. The defenses the NWP 12 Coalition would assert would be
based on the administrative record to be filed by the Federal Defendants, present
questions of law and fact in common with the underlying suit and respond directly
to Plaintiffs’ claims. Moreover, given the unique perspective of the NWP 12
Coalition in light of their nationwide reliance on NWP 12 (a perspective not shared
by any other party to the suit), and their longstanding involvement in the
nationwide permit program and defense of NWP 12, in particular, the Coalition’s
participation would likely aid or enhance the Court’s understanding of the history,
development, purpose, and use of NWP 12. As with Bostick, the NWP 12
Coalition is uniquely positioned to assist the Court in considering the merits and
implications of Plaintiffs’ claims and requested relief, and thereby assist in the
equitable resolution of this action.

Finally, the NWP 12 Coalition’s motion to intervene is timely. If granted
intervention, the NWP 12 Coalition expects to participate on the same schedule
established for the existing parties. As a result, the Coalition’s intervention will
not delay the litigation.

Taken together, these considerations clearly support the NWP 12 Coalition’s

alternative request for permission to intervene under Rule 24(b)(1)(B).

28
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 37 of 83

C. Rule 24(c) Is Satisfied.

A motion to intervene “must state the grounds for intervention and be
accompanied by a pleading that sets out the claim or defense for which
intervention is sought.” Fed. R. Civ. P. 24(c). The NWP 12 Coalition has filed a
proposed Answer along with its Motion to Intervene satisfying this requirement.

IV. CONCLUSION

The NWP 12 Coalition respectfully requests that this Court grant its Motion
to Intervene as of Right under Federal Rule of Civil Procedure 24(a)(2). In the
alternative, the NWP 12 Coalition respectfully requests that this Court grant

permissive intervention under Federal Rule of Civil Procedure 24(b)(1)(B).

29
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 38 of 83

Date: October 15, 2019.

Respectfully submitted,

une

Brianne C. McClafferty

William W. Mercer

Holland & Hart LLP

401 North 31st Street, Suite 1500

Billings, MT 59101

Phone: (406) 252-2166

Email: wwmercer@hollandhart.com
bemeclafferty@hollandhart.com

 

Deidre G. Duncan (D.C. Bar No. 461548)
Karma B. Brown (D.C. Bar No. 479774)
Hunton Andrews Kurth LLP

2200 Pennsylvania Avenue, NW
Washington, DC 20037-1701

(202) 955-1500
dduncan@huntonAK.com
kbbrown@huntonAK.com

Pro Hac Vice Applications Pending

Counsel for Defendant-Intervenors
American Gas Association, American
Petroleum Institute, Association of Oil Pipe
Lines, Interstate Natural Gas Association of
America, and National Rural Electric
Cooperative Association

30
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 39 of 83

CERTIFICATE OF COMPLIANCE

I certify that this Memorandum in Support of Motion to Intervene by
American Gas Association, American Petroleum Institute, Association of Oil Pipe
Lines, Interstate Natural Gas Association of America, and National Rural Electric

Cooperative Association complies with the requirements of Local Rule 7.1(d)(2)

 
    
  
  

and contains 6,353 words, excluding the pa

exempted by Local Rule
(7 |

ulated by Microsoft Word 2016.
Olle

William W. Mercer

7.1(d)(2)(E), according to the word cg

 

3]
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 40 of 83

CERTIFICATE OF SERVICE

I hereby certify that I caused a true and correct copy of the foregoing to be

mailed, first class postage paid, on this 15th day of October, 2019, to the

following:

Timothy M. Bechtold
Bechtold Law Firm

P.O. Box 7051

Missoula, MT 59807-7051

Amy R. Atwood

Center for Biological Diversity
Portland

P.O. Box 11374

Portland, OR 97211-0374

Eric E. Huber

Sierra Club

Environmental Law Program
1650 38th Street, Suite 102W
Boulder, CO 80301

Jared Michael Margolis

Center for Biological Diversity
2852 Willamette Street, Suite 171
Eugene, OR 97405

Kristofor R. Swanson

U.S. Department of Justice
Environmental Enforcement
P.O. Box 7611

Ben Franklin Station
Washington, DC 20044-7611

Cecilia D. Segal

Natural Resources Defense Council
San Francisco

111 Sutter Street, Floor 21

San Francisco, CA 94104

Douglas P. Hayes

Sierra Club

1650 38th Street, Suite 102W
Boulder, CO 80301

Jaclyn H. Prange

Natural Resources Defense Council
San Francisco

111 Sutter Street, Floor 21

San Francisco, CA 94104

Benjamin James Grillot

U.S. Department of Justice
Environmental & Natural Resources
Division-NRS

P.O. Box 7611

Washington, DC 20044-7611

Bridget K. McNeil

U.S. Department of Justice
999 18th Street, Suite 370
Denver, CO 80202

32
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 41 of 83

Mark Steger Smith

U.S. Attorney’s Office
Billings

2601 Second Avenue North
Suite 3200

Billings, MT 59101

Jeffrey M. Roth

Crowley Fleck PLLP

Missoula

305 South 4th Street East, Suite 100
P.O. Box 7099

Missoula, MT 59807

Peter R. Steenland
Sidley Austin LLP
Washington, DC

1501 K Street, NW
Washington, DC 20005

Robert Thomas Cameron
Montana Attorney General
215 North Sanders

P.O. Box 201401

Helena, MT 59620-1401

Jeremiah R. Langston

Montana Public Service Commission

1701 Prospect
P.O. Box 202601
Helena, MT 59601

13690223 vl

Jeffery J. Oven

Crowley Fleck PLLP

Billings

490 North 31st Street, Suite 500
P.O. Box 2529

Billings, MT 59103-2529

Mark L. Stermitz

Crowley Fleck PLLP

Billings

490 North 31st Street, Suite 500
P.O. Box 2529

Billings, MT 59103-2529

Peter Christopher Whitfield
Sidley Austin LLP
Washington, DC

1501 K Street, NW
Washington, DC 20005

Timothy C. Fox

Montana Attorney General
215 North Sanders

P.O. Box 201401

Helena, MT 59620-1401

ALK

 

William W. Mercer

So
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 42 of 83

EXHIBIT 1
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 43 of 83

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

GREAT FALLS DIVISION

NORTHERN PLAINS RESOURCE
COUNCIL, et al.,

Plaintiffs,

Vv. Case No. 4:19-cv-00044-GF-BMM

U.S. ARMY CORPS OF ENGINEERS,
et al.,

Defendants,
TRANSCANADA KEYSTONE
PIPELINE, LP, et al.,

Intervenor-

Defendants.

 

 

AFFIDAVIT OF MICHAEL L. MURRAY, FOR THE
AMERICAN GAS ASSOCIATION, IN SUPPORT OF MOTION OF NWP 12
COALITION TO INTERVENE IN SUPPORT OF DEFENDANTS

1. | Myname is Michael L. Murray. I am the General Counsel of the
American Gas Association (“AGA”). My business address is 400 North Capitol
Street, NW, Washington, DC 20001.

2. | am offering this affidavit in support of the “Motion by American

Gas Association, American Petroleum Institute, Association of Oil Pipe Lines,

Interstate Natural Gas Association of America, and National Rural Electric
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 44 of 83

Cooperative Association to Intervene as Defendants” (the “NWP 12 Coalition”), in
the above captioned case.

3. The AGA, founded in 1918, is a national trade association that
represents more than 200 local energy companies that deliver clean natural gas
throughout the United States. There are more than 74 million residential,
commercial and industrial natural gas customers in the U.S., of which 95 percent
— more than 71 million customers — receive their gas from AGA members. AGA
is an advocate for natural gas utility companies and their customers and provides a
broad range of programs and services for member natural gas pipelines, marketers,
gatherers, international natural gas companies and industry associates. Today,
natural gas meets more than one-fourth of the United States’ energy needs.

4, AGA members across the country rely on the U.S. Army Corps of
Engineers’ (“Corps”) nationwide permit (“NWP”) program under Clean Water Act
(“CWA”) section 404 to obtain streamlined approvals for gas pipe installation and
maintenance projects. Natural gas utilities construct and maintain natural gas
distribution lines and intra-state pipelines in communities across the United States.
Such projects are essential for providing safe, reliable transportation of cleaner
burning natural gas to businesses and residences. Gas distribution lines can cover
many miles and often must cross streams, wetlands, or other waters of the United

States. Utilities take steps to avoid such stream and wetland crossings where
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 45 of 83

feasible. However, it is not always feasible. When a new pipe must be laid to
serve a community or power plant or commercial customer, there may be limited
routes available to reach that community or customer. Projects to replace existing
pipelines with new pipe must follow the existing route and utility right-of-way.

5. | NWP 12 recognizes that AGA members’ natural gas transmission and
distribution line projects usually have limited, temporary impacts on aquatic
resources. When the projects must cross a stream or wetland, the impact is
typically limited because these long, narrow projects affect an area only a few
yards wide, and each stream or wetland crossing is usually completed within a
short time.

6. Natural gas utilities are allowed to use NWP 12 only if certain terms
and conditions are met, including conditions designed to minimize sedimentation
and other impacts of the activity. NWP 12 requires that natural, pre-construction
contours be restored after crossings are completed and the revegetation of areas
affected by temporary fills. Additionally, potential impacts to waters of the United
States associated with natural gas construction projects disturbing one acre or more
are also regulated by EPA and/or delegated States under CWA section 402 through
construction storm water permits that require best management practices to control

sediment from leaving the site of construction. Local governments often also
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 46 of 83

impose additional requirements through their own construction storm water
permitting ordinances.

7. AGA members have relied on NWP 12 authorizations for many years,
back to the inception of the NWP program, to install natural gas transmission and
distribution pipelines. AGA members are diligent in designing and implementing
their natural gas transmission and distribution pipeline projects to conform to the
requirements of NWP 12.

8. AGA’s over 200 member local utility companies would be
significantly impacted if NWP 12 were found unlawful as a result of Plaintiffs’
challenge. Our members must install new natural gas utility lines on a regular
basis, both to extend service to new customers and to replace older lines and
improve system integrity and pipeline safety. Recent energy trends and a focus on
developing cleaner sources of energy are driving a need to expand and expedite the
installation of natural gas transmission and distribution lines. The abundant supply
of natural gas from domestic shale gas supplies in the United States has resulted in
stable, affordable market prices for this energy source. National demand for
affordable supplies may require new gathering, transmission and distribution
pipelines to transport domestic natural gas to customers. NWP 12 is essential for

our members’ ability to complete their infrastructure projects in a timely manner.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 47 of 83

9. | The Department of Transportation Pipeline and Hazardous Materials
Safety Administration (““PHMSA”) drafted an Administration legislative initiative
for pipeline safety, which led to the Pipeline Safety, Regulatory Certainty, and Job
Creation Act of 2011, Pub. Law No. 112-90, 125 Stat. 1904 (2012), which was
signed into law by President Obama on January 3, 2012, and provides a number of
strong pipeline safety measures. AGA and its members are committed to pipeline
safety.

10. Based on statistics available from PHMSA, for the decade from 2000-
2009, there were 18,056 miles of natural gas customer distribution service lines,
2,621 miles of natural gas local distribution mains, and 2,965 miles of natural gas
transmission pipelines installed on average each year. Given that AGA members
deliver natural gas to 95 percent of the residential, commercial and industrial
customers in the United States, nearly all of these distribution lines and much of
the intra-state transmission lines were installed by AGA member companies. State
laws and public utility commission regulations and decisions require our member
utilities to provide safe, reliable natural gas service to customers at just and
reasonable rates, and this requires maintaining, improving and expanding natural
gas distribution and transmission systems in a cost-effective manner. PHMSA
requires our member utilities to conduct this work in order to comply with

applicable federal pipeline safety regulations. In light of the federal and state
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 48 of 83

regulatory requirements to maintain this extensive network of existing distribution
mains and transmission pipelines and construct new mains and pipelines, and the
broad expanse of areas deemed by the Corps to be waters of the United States
subject to CWA jurisdiction, AGA members routinely rely on and will continue to
rely on NWP 12. Many, if not all, of these projects would require CWA
jurisdictional determinations and/or individual crossing-specific permits if NWP
12 were not available, and the resulting delays could impede our members’ ability
to provide safe, affordable and reliable natural gas service to the public.

11. Asaresult of the importance of NWP 12 for AGA member activities,
AGA has participated in the Corps’ NWP program (including NWP 12 for utility
lines) since its inception. AGA filed comments on proposals to revise the NWPs
including the last four rounds of reissuance in 2001, 2006, 2012, and 2016. AGA,
Comments on Department of the Army, Corps of Engineers, Proposal to Reissue
and Modify Nationwide Permits, 81 Fed. Reg. 35,186 (June 1, 2016) (Aug. 1,
2016), COE-2015-0017-0476.! AGA’s 2016 comments are part of the
administrative record that was before the Corps when it prepared the decision
document for the 2017 NWP 12 and decided to reissue the permit in accordance

with the CWA and National Environmental Policy Act (“NEPA”).

 

' https://www.regulations.gov/document?D=COE-2015-0017-0476.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 49 of 83

12. AGA holds regular meetings and conference calls with members to
discuss issues our members face with respect to the NWP program, and we have
held frequent webinars and conference sessions over the past decade to assist our
members share innovative ideas for improving their environmental performance
and best practices to conform to the requirements of the NWPs, including NWP 12.
In addition, AGA staff research and respond to member inquiries regarding CWA
and NWP issues for members.

13. To ensure the continued availability of NWP 12 for AGA member
activities, AGA joined the NWP 12 Coalition to intervene as Defendant-
Intervenors in Sierra Club v. Bostick. See Sierra Club, Inc. v. Bostick, No. CIV-
12-742-R, 2013 WL 6858685 (W.D. Okla. Dec. 30, 2013), aff'd, 787 F.3d 1043
(10th Cir. 2015) (“Bostick”). Bostick involved similar wholesale challenges to
NWP 12 under the Administrative Procedure Act (“APA”), CWA, and NEPA.
AGA, and the NWP 12 Coalition intervened in Bostick to provide the critical
perspective of nationwide holders of NWP 12 and to defend their interests in NWP
12.

14. If Plaintiffs were to obtain the relief they request of a judgment
declaring NWP 12 unlawful, AGA’s more than 200 members would no longer be
able to rely on NWP 12 authorizations to undertake natural gas transmission and

distribution line testing, replacement, maintenance, and expansion projects. If
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 50 of 83

AGA’s members are instead forced to apply for individual CWA permits for those
activities, AGA’s members could face years of additional delays and substantial
additional costs in projects needed to help ensure pipeline safety and integrity
throughout the nation. The process of applying for and obtaining a CWA
individual permit is time consuming, expensive, and subject to regulatory
uncertainty. Accordingly, many important natural gas utility activities may be
delayed or otherwise encumbered if NWP 12 is declared unlawful. This will
significantly harm AGA’s members as well as impede their ability to provide safe
and reliable natural gas services to 71 million customers across the United States.
The cost of these natural gas delivery services to customers may increase if AGA’s
members can no longer rely on the streamlined permitting approach of NWP 12.
15. Based on AGA’s experience throughout the U.S. in relying on NWP
12, and its long involvement in the NWP program, AGA’s participation in this
litigation would likely enhance the Court’s understanding of the history, purpose
and use of NWP 12 to facilitate the nationwide installation and maintenance of a
safe and reliable natural gas distribution and intra-state transmission system by

AGA member utilities across all 50 states.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 51 of 83

CERTIFICATION
I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.
Executed this © day of Gé&éer, , 2019.
ee

Michael L. Murray

Subscribed and sworn to before me this 10 day of DBabka, 2019.

Washington, D.C

lornvbin. L Moment -

My Commission Expires

CYNTHIA E. MAIMONE
OC NOTARY PUBLIC DISTRICT OF COLUMBIA
“neni 7, My Commission Expkes May 14, 2021

"Sone a ae

Ress by er“
er rs ye
SUS Oh a

 
  
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 52 of 83

EXHIBIT 2
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 53 of 83

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

GREAT FALLS DIVISION

NORTHERN PLAINS RESOURCE
COUNCIL, et al.,

Plaintiffs,

V. Case No. 4:19-cv-00044-GF-BMM

U.S. ARMY CORPS OF ENGINEERS,
et al.,

Defendants,
TRANSCANADA KEYSTONE
PIPELINE, LP, et al.,

Intervenor-

Defendants.

 

 

AFFIDAVIT OF ROBIN RORICK, FOR THE
AMERICAN PETROLEUM INSTITUTE, IN SUPPORT OF
MOTION OF NWP 12 COALITION TO INTERVENE
IN SUPPORT OF DEFENDANTS
1. My name is Robin Rorick. I am Vice President of Midstream and
Industry Operations for the American Petroleum Institute (“API”). My business
address is 200 Massachusetts Ave., NW, Suite 1100, Washington, DC 20001.

2. 1am offering this affidavit in support of the “Motion by American

Gas Association, American Petroleum Institute, Association of Oil Pipe Lines,
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 54 of 83

Interstate Natural Gas Association of America, and National Rural Electric
Cooperative Association to Intervene as Defendants” (the “NWP 12 Coalition”) in
the above captioned case.

3. API is a nationwide, non-profit trade association that represents all
facets of the natural gas and oil industry, which supports 10.3 million U.S. jobs and
nearly 8 percent of the U.S. economy. API’s more than 600 member companies
include large integrated companies, as well as exploration and production, refining,
marketing, pipeline, and marine businesses, and service and supply firms. API’s
members provide most of the nation’s energy. API was formed in 1919 asa
standards-setting organization, and API has developed more than 700 standards to
enhance operational and environmental safety, efficiency, and sustainability.

4. API’s members engage in exploration, production, construction, and
maintenance projects that routinely involve both state and federal water permitting
and are, and will be, affected by Clean Water Act (“CWA”) section 404 permits,
including Nationwide Permit (“NWP”) 12.

5. The safe and reliable supply of energy to consumers, at an affordable
cost, requires the construction and maintenance of thousands of lines of linear
pipelines. The need to deliver energy over long distances to neighborhoods and
communities across the country often means that pipelines and linear structures

must, at times, unavoidably cross wetlands and other waters of the United States as
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 55 of 83

they extend from supply to market areas. API’s members rely on an efficient and
reasonable permitting process, as provided by the NWPs, including NWP 12, to
obtain required CWA approvals for the construction and maintenance of these
critical elements of our nation’s energy supply infrastructure.

6. | NWPs are an important tool for authorizing critical and time-sensitive
activities that the Corps has determined have only minimal impacts on the aquatic
environment. NWP 12, for example, contains certain limits, thresholds, and other
conditions to ensure compliance with the “minimal adverse environmental effects”
statutory standard.

7. API’s members conform their projects to meet the terms and
conditions of the NWPs, including NWP 12. In particular, just within the past five
years, several of API’s members have relied on NWP 12 authorizations to
construct hundreds of miles of oil pipelines, natural gas pipelines, refined product
pipelines, and natural gas liquids pipelines, which traverse the States of Montana,
Oklahoma, Texas, Colorado, Louisiana, Missouri, Mississippi, Kansas, Wisconsin,
Illinois, Utah, North Dakota, Arkansas and Minnesota.

8. API members also rely on NWP 12 authorizations to inspect,
maintain, and repair existing pipelines to ensure the continued safety and reliability

of the projects.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 56 of 83

9. Several of API’s members have specific plans to rely on NWP 12 for
authorization to build oil, gas, natural gas liquids, and refined product pipelines in
Montana, Oklahoma, Colorado, Illinois, Indiana, Iowa, Kansas, Louisiana,
Missouri, New Mexico, Ohio, Pennsylvania, South Dakota, Texas, Utah, West
Virginia, and Wyoming. These API members plan to rely on NWP 12
authorizations for the specific water crossings involved for the pipelines.

10. To protect these significant interests, API has filed comments and
participated in numerous administrative rulemakings involving the NWPs
generally, and NWP 12 in particular. Most recently, on August 1, 2016, API
submitted comments in response to the Corps’ proposal to reissue and modify the
NWPs. API, Comments on Department of the Army, Corps of Engineers, Proposal
to Reissue and Modify Nationwide Permits, 81 Fed. Reg. 35,186 (June 1, 2016)
(Aug. 1, 2016), COE-2015-0017-0441.! These comments are part of the
administrative record that was before the Corps when it prepared the decision
document for NWP 12 and decided to reissue the permit in accordance with the
CWA and National Environmental Policy Act (“NEPA”). API has a long-standing
history of participation in NWP rulemakings. See, e.g., API, Comments on

Department of the Army, Corps of Engineers, Proposal to Reissue and Modify

 

' https://www.regulations.gov/document?D=COE-2015-0017-0441.
4
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 57 of 83

Nationwide Permits, 76 Fed. Reg. 9174 (Feb. 16, 2011) (Apr. 18, 2011), COE-
2010-0035-0234,

11. Due to the importance of NWP 12 for API members nationwide, API
invested significant time and resources to join with the members of the NWP 12
Coalition as Defendant-Intervenors in Sierra Club v. Bostick. See Sierra Club, Inc.
v. Bostick, No. CIV-12-742-R, 2013 WL 6858685 (W.D. Okla. Dec. 30, 2013),
aff'd, 787 F.3d 1043 (10th Cir. 2015) (“Bostick”). Bostick involved similar
wholesale challenges to NWP 12 under the Administrative Procedure Act
(“APA”), CWA, and NEPA. API and the NWP 12 Coalition intervened in Bostick
to provide the critical perspective of nationwide holders of NWP 12 and to defend
their interests in NWP 12.

12. If Plaintiffs were to obtain the relief that they request here, a judgment
declaring NWP 12 to violate the APA, CWA, NEPA, and/or the Endangered
Species Act, and applicable regulations, API members may no longer be able to
rely on NWP 12 authorizations to undertake the activities necessary to construct
pipelines in a cost-effective and timely manner. If API’s members are instead
forced to apply for individual CWA permits for those activities that the Corps has
deemed to have only minimal environmental effects, API’s members could face

years of additional delays and substantial additional costs, without any

 

* https://www.regulations.gov/document?D=COE-2010-0035-0234.
5
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 58 of 83

commensurate benefit to the aquatic environment. The process of applying for and
obtaining an individual permit is time consuming, expensive, and subject to
regulatory uncertainty. Accordingly, many important activities associated with oil
pipelines, natural gas pipelines, refined product pipelines, and natural gas liquids
pipelines may be delayed or otherwise encumbered if NWP 12 is declared to be
unlawful. This will significantly harm API’s members as well as impede their
ability to safcly deliver natural gas, oil, and rclated products through pipelines.
The cost of these services to customers may increase if API’s members can no
longer rely on the efficient and reasonable permitting approach of NWP 12.

13. API’s participation in litigation would likely aid the Court in
understanding the ramifications of this litigation on the natural gas and oil industry
as a whole. In this capacity, API, as part of a coalition with other industry
interests, will make legal arguments that will aid the Court’s understanding and
disposition of the issues, and which may not be made by other parties to the

litigation.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 59 of 83

CERTIFICATION
I certify that the foregoing statements made by me are true. I am aware that,

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.

Executed this ¥ th day of October, 2019.

fab << hy ple

DISTRICT OF COLUMBIA

M,
Subscribed and sworn to before me this“ day of Oclwlpe,- , 2019.

ttt,
Cy SNe? iO
ar, . %

 

N RoE 2k 070z/Te/¢
ota ublic SS S]uiMdxKa te 3
"y v=”: NOISSINWOD :O =
z= iy AW ea;
Yvette M Cordone : ae er xi
Notary Public, District of Columbia ZO “Ned ears
My Commission Expires 5/31/2020 “Wn 4O5 WA ae
My Commission Expires: “Hr
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 60 of 83

EXHIBIT 3
 

Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 61 of 83

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
GREAT FALLS DIVISION

NORTHERN PLAINS RESOURCE
COUNCIL, et al.,
Plaintiffs,

Vv.

U.S. ARMY CORPS OF ENGINEERS,
et al.,

Defendants,
TRANSCANADA KEYSTONE
PIPELINE, LP, et al.,

Intervenor-

Defendants.

 

 

Case No. 4:19-cv-00044-GF-BMM

AFFIDAVIT OF ANDREW BLACK,
FOR THE ASSOCIATION OF OIL PIPE LINES, IN SUPPORT OF
MOTION OF NWP 12 COALITION TO INTERVENE
IN SUPPORT OF DEFENDANTS

1. |Myname is Andrew Black. I am the President and Chief Executive

Officer of the Association of Oil Pipe Lines (“AOPL”). My business address is

900 17" Street, NW, Suite 600, Washington, DC 20006.

2. lam offering this affidavit in support of the “Motion by American

Gas Association, American Petroleum Institute, Association of Oil Pipe Lines,

Interstate Natural Gas Association of America, and National Rural Electric
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 62 of 83

Cooperative Association to Intervene as Defendants” (the “NWP 12 Coalition”), in
the above captioned case.

3. AOPL is a national trade association that represents the interests of
owners and operators of America’s liquid pipelines. Liquid pipelines play a vital
transportation role in the economy of the United States, its commerce, and its
national defense. AOPL helps educates the public, policymakers, and the press
about the vital role oil pipelines serve in the daily lives of Americans.

4. AOPL members transport approximately 96% of the crude oil and
refined petroleum products shipped through pipelines in the United States. AOPL
members bring crude oil to the nation’s refineries, natural gas liquids such as
ethane, butane, propane and carbon dioxide to manufacturers and industrial users,
jet fuel to airports, and petroleum products to our communities, including all
grades of gasoline, diesel, home heating oil, kerosene, propane and biofuels.

5 As of 2018, there were over 218,000 miles of liquid pipelines in the
United States, including over 62,000 miles of refined petroleum product pipelines,
70,000 miles of highly volatile liquid pipelines and 80,000 miles of crude oil

pipelines.!

 

| https://www.phmsa.dot.gov/data-and-statistics/pipeline/annual-report-mileage-
hazardous-liquid-or-carbon-dioxide-systems
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 63 of 83

6. While the existing United States liquid pipeline network is extensive,
new construction is required to transport energy liquids from new production areas
across North America, including Montana, Oklahoma, Texas, North Dakota,
Colorado, Pennsylvania and Ohio to existing refining and processing locations.

7. During the past five years, approximately 26,000 miles of liquid
pipelines have been added, an increase of approximately 13.5 percent in overall
mileage. In addition, AOPL members have publicly announced over $2 billion in
new construction projects with a completion date in 2017 or later. This new
construction would add over 1,000 miles of pipeline into service.

8. Pipelines constructed by AOPL members almost invariably cross
waters of the United States at some point. New pipeline construction projects can
range from tens to hundreds of miles long, sometimes over 1,000 miles long, and
often must cross areas deemed by the U.S. Army Corps of Engineers (“Corps”) to
be waters of the United States subject to Clean Water Act (“CWA”) jurisdiction.

9. |AOPL members routinely rely on nationwide permit (“NWP”) 12 to
construct those portions of pipelines that cross waters of the United States when
construction activity will have only minimal impacts on the environment.
Activities may include temporary impacts associated with excavation, backfill or
bedding for pipelines, with the areas then returned to normal pre-disturbance

conditions (i.e., pre-construction contours). Pipeline activities undertaken in
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 64 of 83

conformance with NWP 12 must meet the terms and conditions of NWP 12,
including the 2 acre limit on loss of waters for each separate water body and each
separate and distant crossing, among numerous other requirements.

10. _AOPL members also rely on NWP 12 authorizations to maintain the
integrity and safety of their pipelines through maintenance and repair projects. The
need for pipelines to cross waters of the United States means that maintenance and
repair of pipelines must sometimes also occur at locations considered to be waters
of the United States.

11. Due to the importance of NWP 12 for AOPL members nationwide,
AOPL invested significant time and resources to join with the NWP 12 Coalition
as Defendant-Intervenors in Sierra Club v. Bostick. See Sierra Club, Inc. v.
Bostick, No. CIV-12-742-R, 2013 WL 6858685 (W.D. Okla. Dec. 30, 2013), aff'd,
787 F.3d 1043 (10th Cir. 2015) (“Bostick”). Bostick involved similar wholesale
challenges to NWP 12 under the Administrative Procedure Act (“APA”), CWA,
and National Environmental Policy Act (“NEPA”). AOPL and the NWP 12
Coalition intervened in Bostick to provide the critical perspective of nationwide
holders of NWP 12 and to defend their interests in NWP 12.

12.  IfPlaintiffs were to obtain the relief they request in this suit, a
judgment declaring NWP 12 to violate the APA, the CWA, NEPA, the Endangered

Species Act, and applicable regulations, AOPL members may no longer be able to
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 65 of 83

rely on NWP 12 authorizations to undertake the construction, maintenance or
repair of existing pipelines. AOPL members would instead need to obtain
individual CWA section 404 permits for those activities.

13. The process of applying for and obtaining an individual CWA section
404 permit is time consuming, expensive, and subject to regulatory uncertainty.
The time necessary to obtain an individual CWA section 404 permit can stretch
into years, in comparison to an NWP 12 authorization, which by design typically
requires only a matter of months. An individual CWA permit process stretching
multiple years would be significantly more expensive to AOPL members than the
existing NWP 12 authorization process.

14. AOPL members seeking to construct new pipelines would face
significant delays and additional costs if NWP 12 is declared to violate one or
more of the statutes, which could also affect their customers’ supply and costs of
obtaining crude oil and refined petroleum products. Moreover, AOPL members
seeking to ensure the integrity and safety of their pipelines through maintenance
and repair projects would face significant delays and additional costs if NWP 12 is
declared unlawful, which could also affect their customers’ supply and costs of
obtaining crude oil and refined petroleum products.

15. Accordingly, the outcome of this litigation could significantly harm

AOPL’s members.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 66 of 83

CERTIFICATION

I certify that the foregoing statements made by me are true. I am aware that,

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.
Executed this Thay of ( ) chype , 2019.
ALL SL

Andrew Black 7 7

Washington, D.C.
Subscribed and sworn to before me this 4 say of bor , 2019.

    

Notary Public

My Commission Expires
April 30, 2023

My Commission Expires:
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 67 of 83

EXHIBIT 4
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 68 of 83

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

GREAT FALLS DIVISION

NORTHERN PLAINS RESOURCE
COUNCIL, et al.,

Plaintiffs,

V. Case No. 4:19-cv-00044-GF-BMM

U.S. ARMY CORPS OF ENGINEERS,
et al.,

Defendants,
TRANSCANADA KEYSTONE
PIPELINE, LP, et al.,

Intervenor-

Defendants.

 

 

AFFIDAVIT OF JOAN DRESKIN, FOR THE
INTERSTATE NATURAL GAS ASSOCIATION OF AMERICA,
IN SUPPORT OF MOTION OF NWP 12 COALITION TO
INTERVENE IN SUPPORT OF DEFENDANTS

1. |My name is Joan Dreskin. I am Senior Vice President and General
Counsel of the Interstate Natural Gas Association of America (““INGAA”). My
business address is 20 F Street, NW, Suite 450, Washington, DC 20001.

2. 1 am offering this affidavit in support of the “Motion by American

Gas Association, American Petroleum Institute, Association of Oil Pipe Lines,

Interstate Natural Gas Association of America, and National Rural Electric
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 69 of 83

Cooperative Association to Intervene as Defendants” (the “NWP 12 Coalition”), in
the above captioned case.

3. INGAAis a non-profit trade association representing interstate natural
gas transmission pipelines (“interstate pipelines”) operating in the United States.
INGAA is comprised of 28 members, representing the vast majority of the
interstate natural gas transmission pipeline companies in the U.S. INGAA
members operate approximately 200,000 miles of pipelines. Ensuring the safety,
security, and reliability of this natural gas pipeline network is crucial to meeting
the energy needs of the U.S. and contributes directly to the U.S. economy by
powering domestic industry and providing jobs.

4. INGAA advocates regulatory and legislative positions of importance
to the interstate pipeline industry in the U.S. As partofits regulatory advocacy,
INGAA speaks for its members on a broad array of environmental issues. Within
the environmental sphere, INGAA represents its members on matters affecting
interstate pipeline siting and permitting under the Clean Water Act (“CWA”), the
Clean Air Act, the Natural Gas Act, and other federal and state programs.
Maintaining members’ reasonable access to CWA nationwide permits (“NWPs”)
falls within this area of INGAA’s responsibilities.

5. | Asdocumented by statistics compiled by the Federal Energy

Regulatory Commission (“FERC”), which is resp onsible for regulating INGAA
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 70 of 83

members’ rates, services and facilities, INGAA members construct hundreds of
miles of new interstate pipelines each year. Maintenance activities require
uncovering additional hundreds, if not thousands, of miles of interstate pipelines
annually.

6. Interstatenatural gas pipeline projects must comply with FERC
certification requirements, which are designed to ensure that pipeline crossings
cause only temporary construction impacts, do not result in permanent fill of
jurisdictional waters, are restored to pre-construction contours and elevations
immediately after construction, and are mitigated to the greatest extent possible.

7. Many of INGAA members’ construction, maintenance, and safety
activities involve “utility line crossings,” as defined under NWP 12. INGAA
members rely on, and makeregular use of NWPs, including NWP 12 for the timely
authorization of activities that have only minimal environmental effects, but that
are essential to the reliable, safe and affordable supply ofenergy to U.S.
consumers.

8. NWPsprovidean efficient permitting mechanism that helps
streamline the review and approval process for pipeline projects without
precluding or compromising the consideration ofany necessary project-specific
conditions, Construction and maintenance ofnatural gas pipelines typically occur

on tight schedules designed to ensure the safety, security, and reliability ofthe
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 71 of 83

natural gas pipeline network and to meet the growing demands of natural gas
customers. Obtaining coverage under an NWP takes considerably less time than an
individual CWA section 404 permit, while still ensuring appropriate consideration
ofall applicable avoidance, minimization and mitigation measures.

9.  Theconditions associated with the NWPs are designed to ensure that
authorized crossings have only minimal environmental effects. NWPs are subject
to a set of 32 general conditions that protect a range of different environmental
resources, including sp awning areas, migratory bird breeding areas, shellfish beds,
water supply intakes, wild and scenic rivers, endangered species, migratory birds,
bald and golden eagles, historic properties, and designated critical resource waters.
In each case, these conditions prohibit activities that wouldhave more than
minimal impacts on these resources.

10. When the Corpsreissued the NWPs in 2017, it imposed a number of
enhanced and additional conditions relevantto NWP 12. In addition to these
general conditions, each Corps District has the authority to imposeregional
conditions. And, in addition to the general and regional conditions, the Corps
District Engineer is obligated to impose any project-specific conditions necessary
to ensure that project-related impacts are minimal. These conditions work together
to ensure that activities authorized under NWP 12 have “only minimal adverse

environmental effects.”
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 72 of 83

11. Information! have obtained to date indicates that INGAA members
use NWP 12 thousands oftimes annually for their construction, maintenance, and
repair activities. Useof NWP 12 for INGAA members is particularly important to
allow critical pipeline safety and reliability activities to proceed in a timely
manner.

12. The extent ofinterstate pipeline construction and maintenance, and
INGAA members’ corresponding reliance on NWP 12, are likely to increase based
on current trends. The abundant supply ofnatural gas from domestic shale gas
supplies in the U.S. has resulted in stable, affordable natural gas prices. This has
increased demand for affordable natural gas and for new gathering, transmission
and distribution pipelines to bring the domestic natural gas to customers.

13. The protectiveness and continued availability of NWP 12 is critically
important to INGAA and its members. Consistent with its members’ reliance on
NWP 12, INGAA has filed comments and participated in numerous administrative
rulemakings involving NWPs generally and NWP 12 in particular. Mostrecently,
on August 1, 2016, [submitted comments on INGAA’s behalf addressing the
Corps’ proposal to reissue and modify various NWPs. INGAA, Comments on
Department ofthe Army, Corps of Engineers, Proposal to Reissue and Modify

Nationwide Permits, 81 Fed. Reg. 35,186 (June 1, 2016) (Aug. 1, 2016), COE-
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 73 of 83

2015-0017-0457.! INGAA’s August 2016 comment letter discussed NWP 12
extensively and is part of the administrative record that was before the Corps when
it prepared the decision document for NWP 12 and decided to reissue the permit in
accordance with the CWA and National Environmental Policy Act (“NEPA”).
INGAA has a long-standing history of participation in NWP rulemakings. See,
e.g., INGAA, Comments on the Department of the Army, Corps of Engineers,
Proposal to Reissue and Modify Nationwide Permits, 76 Fed. Reg. 9174 (Feb. 16,
2011), (Apr. 18, 2011), COE-2010-0035-0124.2

14. Due to theimportance of NWP 12 for INGAA members nationwide,
INGAA invested significant time and resources to join with the NWP 12 Coalition
as Defendant-Intervenors in Sierra Club v. Bostick. See Sierra Club, Inc. v.
Bostick, No. CIV-12-742-R, 2013 WL 6858685 (W.D. Okla. Dec. 30, 2013), aff"d,
787 F.3d 1043 (10th Cir. 2015) (“Bostick”). Bostick involved similar wholesale
challenges to NWP 12 under the Administrative Procedure Act (“APA”), CWA,
and NEPA. INGAA andthe NWP 12 Coalition intervened in Bostick to provide
the critical perspective ofnationwide holders of NWP 12 and to defend their

interests in NWP 12.

 

1 https:/Avww.regulations. gov/document?7D=COE-2015-0017-0457,
?https:/Avww regulations. gov/document?7D=COE-201 0-0035-0124,
6
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 74 of 83

15. If Plaintiffs were to obtain therelief that they request, a judgment
declaring NWP 12 to violatethe APA, CWA, NEPA, and/or the Endangered
Species Act, and applicable regulations, INGAA members may no longer be able
torely on NWP 12 authorizations to undertake critical and time-sensitive
construction and maintenance activities necessary to ensure the safety, security,
and reliability of the natural gas pipeline network. IEINGAA members are instead
forced to apply for individual CWA permits for those activities, the additional time
required to obtain individual permits could create unnecessary safety risks by
delaying critical maintenance work, threatening the reliability of our nation’s
natural gas pipeline network, and restricting consumers’ access to natural gas,
while potentially raising costs for consumers. Moreover, the delay and expense
associated with requiring individual CWA permits for these activities will
significantly harm INGAA’s members and impede their ability to continue serving
as an indispensable link between natural gas producers and consumers.

16. Based on INGAA’ sexperience throughout the U:S. in relying on
NWP 12, and its long involvement in the NWP program, including prior litigation
over NWP 12, INGAA’s participation in litigation would likely enhance the

Court’s understanding of the history, purpose, development, anduseof NWP 12.

7

.,

‘, -
”~ '
cha
~

In addition, INGAA’s participation in this litigation will aid the Court in a

understanding the ramifications of this litigation on the oil and gas industry as a2

a ‘

oh iy, Ao
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 75 of 83

whole, and, by extension, on the national economy. As partofa coalition with
other industry interests, INGAA will make legal arguments that will aid the
Court’s understanding and disposition of the issues.
CERTIFICATION
I certify that the foregoing statements made by me are true. | am aware that,
if any of the foregoing statements made by me are willfully false, I am subject to

punishment.

Executed this Yay of ob eS , 2019.

lun Muer~
Joan Dreskin

f

Washington, D.C.

Subscribed and sworn to before me this |OMday of Ocktber ,2019.

Noa l lapenter.

Notary Public

My CommissionExpires: © | 3 | 2S

 

i seeeshae™ es

“et Hanae 8
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 76 of 83

EXHIBIT 5
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 77 of 83

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

GREAT FALLS DIVISION

NORTHERN PLAINS RESOURCE
COUNCIL, et al.,

Plaintiffs,

V. Case No. 4:19-cv-00044-GF-BMM

U.S. ARMY CORPS OF ENGINEERS,
et al.,

Defendants,
TRANSCANADA KEYSTONE
PIPELINE, LP, et al.,

Intervenor-

Defendants.

 

 

AFFIDAVIT OF DOROTHY KELLOGG, FOR THE
NATIONAL RURAL ELECTRIC COOPERATIVE ASSOCIATION,
IN SUPPORT OF MOTION OF NWP 12 COALITION TO INTERVENE
IN SUPPORT OF DEFENDANTS

1. | Myname is Dorothy Kellogg. I am Environmental Regulatory
Director for the National Rural Electric Cooperative Association (“NRECA”). My
business address is 4301 Wilson Boulevard, Arlington, VA 22203.

2. am offering this affidavit in support of the “Motion by American

Gas Association, American Petroleum Institute, Association of Oil Pipe Lines,

Interstate Natural Gas Association of America, and National Rural Electric
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 78 of 83

Cooperative Association to Intervene as Defendants” (the “NWP 12 Coalition”), in
the above captioned case.

3. NRECA is the national trade association representing the national
interests of cooperative electric utilities and the consumers they serve. NRECA
represents nearly 900 not-for-profit rural electric utilities that provide electric
energy. America’s electric cooperatives belong to the communities they serve and
comprise a unique sector of the electric industry. From growing suburbs to remote
farming communities, electric cooperatives power one in eight Americans and
serve as engines of economic development for 42 million people across 56 percent
of the nation’s landscape. NRECA members power over 20 million businesses,
homes, schools, churches, hospitals, farms, irrigation systems and other
establishments throughout the U.S.

4. | NRECA was formed in 1942 by the nation’s rural electric cooperative
leaders, who were dedicated to bringing electrical service to vast unserved regions
of the country and providing safe, reliable, and affordable electric power through
electric cooperative entities. NRECA was organized specifically to mitigate
wholesale electric power shortages in rural areas. Electric cooperatives are
incorporated as private entities in states in which they reside and have legal public

service obligations to provide reliable electric service to their customer members.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 79 of 83

5. The number of customers served and the revenue received by rural
electric cooperatives per mile of electric distribution line is modest, relative to the
electric industry as a whole. Cooperatives own and maintain 2.6 million miles or
42 percent of the nation’s electric distribution lines. They serve an average of 8
consumers per mile of line. In 2017, electric cooperatives supported 611,600 jobs
and contributed $88.4 billion to the U.S. GDP annually, including an investment of
$12 billion annually in local economies.

6. | NRECA’s members include 62 generation and transmission (“G&T”)
and 831 distribution cooperatives. The G&Ts generate, purchase, and transmit
power to distribution cooperatives that provide it to the end of the line co-op
consumer-members. Collectively, cooperative G&Ts provide power to nearly 80
percent of the distribution cooperatives in the nation. The remaining distribution
cooperatives receive power directly from other generation sources within the
electric utility sector. Both distribution and G&T cooperatives share an obligation
to serve their members by providing safe, reliable, and affordable electric service.

7. | NRECA serves its members as a nationwide advocate for legislative
and regulatory policies that are scientifically sound, cost-effective and balance
consumer interest and environmental protection. NRECA advocates for policies
that protect health and the environment, while ensuring safe, reliable, and

affordable power.
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 80 of 83

8. In the course of providing electricity over long distances and to all
areas of the country, NRECA’s members engage in construction, operation and
maintenance of transmission and distribution lines and other utility operations that
sometimes take place in wetlands and other waters of the United States and that
require authorization under Clean Water Act (“CWA”) section 404 permits.

9. | NRECA’s members depend on CWA section 404 permits, including
in particular nationwide permit (“NWP”) 12, to conduct many of these utility line
activities. Many cooperatives rely on NWP 12 to provide timely and reliable
installation of transmission and distribution lines to deliver essential electric
supplies to homes, public institutions, and businesses, and to perform maintenance
on those lines, which is critical to their reliability. Throughout the country, many
electric utilities attempt to conform their construction and maintenance activities,
whenever practicable, to fall within the terms of NWP 12, the general conditions
applicable to all NWPs, the regional conditions imposed by Corps Division
Engineers (including those required by the State under Section 401 of the CWA or
the Coastal Zone Management Act), and any project-specific conditions imposed
by Corps District Engineers.

10. The laws and rules governing CWA section 404 permits are,

therefore, important to NRECA’s members as well as to the rural consumers they
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 81 of 83

serve, whose health, safety, and general welfare depend on a reliable and cost-
effective supply of electricity.

11. .NRECA members have identified the NWPs, and NWP 12 in
particular, as a critical environmental issue for the organization. As a result,
NRECA has participated in the NWP rulemaking process during each reissuance of
the NWPs.

12. NRECA has a significant interest in ensuring that our member electric
cooperatives have certainty in meeting the CWA’s requirements, including
whether they are able to avail themselves of the streamlined NWP permitting
process, or must instead, apply for an individual CWA § 404 permit.

13. For most cooperatives, defending their significant regulatory interests
and positions in federal court is prohibitively expensive. Therefore, electric
cooperatives join NRECA so that we, as an organization, can represent their
interests before the regulatory agencies, Congress, and the courts, and ensure that
they are able to continue providing safe, reliable, and affordable electric power,
which is important to the Nation’s economy and a key service to rural America.

14, IfPlaintiffs were to obtain the relief that they request here, a judgment
declaring NWP 12 to violate the Administrative Procedure Act, CWA, National
Environmental Policy Act, and/or the Endangered Species Act, and applicable

regulations, NRECA members may no longer be able to rely on NWP 12
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 82 of 83

authorizations to undertake the activities necessary to provide electricity to the
rural communities they serve in a cost-effective and timely manner.

15. IfNRECA’s members are instead forced to apply for individual CWA
permits for those activities, NRECA’s members could face years of additional
delays and substantial additional costs. The process of applying for and obtaining
an individual permit is time consuming, expensive, and subject to regulatory
uncertainty. The increased costs and burdens that result from the individual
permitting process can affect not only the members, but the amount of costs that
are passed on to consumers and indirectly borne by the rural public. In addition,
CWA-related burdens, costs, and delays can impede NRECA members’ ability to
fulfill their public service obligations to ensure a reliable supply of electricity to
rural consumers. Accordingly, many important utility line activities may be
delayed or otherwise encumbered if NWP 12 is declared unlawful. NRECA
members would be significantly impacted by any decision that NWP 12 is
unlawful.

16. Intervention in this suit is intended to implement NRECA’s
organizational policies, as determined by the members. NRECA’s participation in
litigation would likely aid the Court by providing the perspective of one of the
primary industries that utilizes, and will continue to utilize, NWP12. NRECA, as

part of the NWP 12 Coalition with other industry interests, will make legal
Case 4:19-cv-00044-BMM Document 49 Filed 10/15/19 Page 83 of 83

arguments that may aid the Court’s understanding and disposition of the issues, by
providing the electric utility sector perspective on the merits and implications of
Plaintiffs’ claims and requested relief, which may not be made by other parties to
the litigation.
CERTIFICATION

I certify that the foregoing statements made by me are true. | am aware that,
if any of the foregoing statements made by me are willfully false, ] am subject to
punishment.

Executed this Hiday of October, 2019.

Dorotiy Kellogg
STATE

COUNTY OF

Subscribed and sworn to before me this G day of ey Le ce. , 2019.

. ) *) £3 2 } a
fS ew La (LE AC Jerse
Notary Public
FAHONDA M. MCDONALD

My Commission Expires: NOTARY PUBLIC DISTRICT OF COLUMBIA
thy COMTmTEsSION Expires July 31, 2022

 
